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IN RE= GRAND JURY PRocEEDINGs. ) Mi¢c. No. H'-.Z%`/

 

EMERGKNC¥ HOTION OF LANNY A. BREUER TO STAY SUBPOENA

Lanny A. Breuer, Special Counsel to the President of
the United States, respectfully moves for an order staying a
subpoena issued by the Office of Independent Counsel (OIC) on
July 31, 1998, requiring Mr. Breuer to testify before the
grand jury on August 4, 1998. Mr. Breuer seeks this stay
pending resolution by the Court of Appeals (and the Supreme
Court, if necessary) of an emergency motion filed today by the
Office of the President seeking a stay of subpoenas to members
of the Office of the Counsel to the President pending a
decision on an expedited petition for certiorari from the
judgment of the Court of Appeals in In re Lindsey, No.
9§-3060, 1998 WL 418780 (D.C. Cir. July 27, 1998).

The instant motion is being filed as a protective
step in the event the Court of Appeals does not act on, or
does not reach the merits of, the motion filed by the Office
of the President prior to Mr. Breuer's scheduled appearance at

10:00 a.m. on August 4, 1998. The OIC has refused to agree to

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continue Mr. Breuer's appearance pending resolution of the
stay being sought by the Office of the President.

In further support of this motion, the Court is
referred to the memorandum of points and authorities filed
herewith.

Respectfully submitted,

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GRAND JURY PROCEEDINGS
UNDBR SEAL

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

IN RE: GRAND JURY PROCEEDINGS. ) MiBC. No.

 

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
EMBRGENCY MOTION OF LANNY A. BREUER TO STAY SUBPOENA
Lanny A. Breuer, Special Counsel to the President of
the United States, respectfully requests a stay of the
subpoena issued on July 31, 1998, that requires him to appear
before the grand jury on August 4, 1998.

Mr. Breuer seeks this
stay to enable the Court of Appeals (and the Supreme Court, if
necessary) to act on an emergency motion filed today by the
Office of the President in the wake of last week’s decision in

In re Lindsey, No. 98-3060, 1998 WL 418780 (D.C. Cir. July 27,

d
That motion seeks an

order from the Court of Appeals barring the Office of
Independent Counsel (OIC) from calling members of the Office
of the Counsel to the President before the grand jury pending

the resolution of an expedited petition for certiorari of the

judgment in In re Lindsey.

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PROCEDURAL HISTORY

l. In January 1998, upon expansion of the
jurisdiction of the OIC, a federal grand jury in Washington,
D.C. began investigating "whether Monica Lewinsky or others
suborned perjury, obstructed justice, intimidated witnesses,
or otherwise violated federal law[.]" In re Motions of Dow
Jones & Co., Inc., 142 F.3d 496, 497, 498 (D.C. Cir. 1998)
(quoting Independent Counsel's jurisdictional grant), pet. for
cert. filed sub nom. Dow Jones & Co., Inc. v. Clinton, 66
U.S.L.W. 3790 (U.S. June 3, 1998) (no. 97-1959).

2. On January 30, 1998, the OIC subpoenaed Bruce
R. Lindsey, Deputy Counsel and Assistant‘¥r?he Pres§dent, to
§estify before the grand jury. sz Lindsey appeared before
lthe grand jury on three occasions in February and March, 1998.
When asked questions concerning his confidential communica-
tions with the President in the course of his official duties
as Deputy White House Counsel, Mr. Lindsey invoked the
governmental attorney-client privilege. The OIC moved to
compel Mr. Lindsey to disclose these`privileged communications
$ith the President. The Office of the Fresident, as holder of
the governmental attorney-client privilege at issue, opposed
the OIC’s motion to compel.

3. On May 4, 1998, this Court granted the OIC’s
motion to compel Mr. Lindsey to testify. See In re Grand Jury

Proceedings, Misc. No. 98-95, 1998 WL 271539 (D.D.C. May 27,

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Presidentoappealed_the Court's decision of May 4, 1998

4. On May 28, 1998, before the Court of Appeals
could fix a briefing schedule, the OIC petitioned the Supreme
Court to review this Court's decision before judgment in the
court of appeals. The Court denied certiorari. United States
v. Clinton, 118 S. Ct. 2079 (1998). The Court stated that it
assumed that the Court of Appeals would decide the case
expeditiously. Id. at 2080. Upon denial of the OIC’s
petition, the Court of Appeals fixed an expedited briefing and
argument schedule, Argument was held on June 29, 1998.

5. On July 27, 1998, a sharply divided panel of
the Court of Appeals affirmed this Court's ruling granting the
motion to compel and, indeed, significantly expanded that
ruling in favor of the CIC. In re Lindsey, No. 98-3060, 1998
WL 418780 (D.C. Cir. July 27, 1998) (per curiam, 2-1 decision,
Judges Randolph and Rogers in the majority, Judge Tatel in

dissent). The panel majority ruled as follows:

 

y The district court's decision of May 4, 1998 was issued
under seal. A redacted version was released to the public on
May 27, 1998.

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:Whén government attorneys learn, through
communications with their clients, of

information related to criminal misconduct,

they may not rely on the government attorney-

client privilege to shield such information

from disclosure to a grand jury.

1'_,<)98 wL 418780 at *14.

6. The panel majority directed that a petition for
thearing or%h suggestion for rehearing en banc must be
submitted no later than August 3, 1998. Id. The Office of
the President has decided not to file a rehearing petition,
and instead to file a petition for certiorari on an expedited
schedule,

7. On July 31, 1998, the OIC issued a subpoena to
Mr. Breuer requiring his appearance before the grand jury on
August 4, 1998. We expect the OIC to question Mr. Breuer
about confidential communications with the President that
occurred during the course of Mr. Breuer's rendition of legal
advice.

8. Today, August 3, 1998, the Office of the
President moved the Court of Appeals, pursuant to 28 U.S.C.

§ 2101(f) and Fed. R. App. P. 41(b), to stay its mandate and
to issue an order under the All Writs Act staying subpoenas to
members of the Office of the Counsel to the President. pending

the Supreme Court's decision on the White House's expedited

petition for certiorari.

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REASONS FOR GRANTING THE STAY

the

Lindsey decision and the dissent thereto present a substantial
question of overriding importance that is likely to be
reviewed by the Supreme Court: whether the President of the
United States may be stripped of the right to confer in
confidence with attorneys in the White House Counsel's Office
on official matters. Before the President is denied that
important right, he, like all other litigants, deserves the
opportunity to seek Supreme Court review of his claim. The
instant motion to stay the subpoena to Special Counsel Breuer
merely seeks to preserve the opportunity for orderly Supreme
Court review of that issue. The alternative to a stay would
be a series of question-by-question objections by Mr. Breuer,
followed by a motion to compel that would require relitigation
of the same issues that have been litigated in Lindsey. Until
the Supreme Court either reviews Lindsey or declines to review
it, questioning of Mr. Breuer and repeat litigation of the
Lindsey issues would be wasteful of the resources of the
courts, the OIC and the Office of the Counsel to the
President.

2. If Mr. Breuer were required to testify prior to
final resolution of Lindsey by the Supreme Court, the Office

of the President would be irreparably harmed by the

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irrevocable loss of its confidences. See In Re Perrigo Co.,
128 F.3d 430, 437 (6th Cir. 1997) ("we find, as have several
courts, that forced disclosure of privileged material may
bring about irreparable harm"). This harm would not be
remedied if, after a Supreme Court decision sustaining

Mr. Lindsey's privilege claim, the OIC were ordered not to use
the privileged information obtained from Mr. Breuer as
evidence. At that point, the OIC lawyers would already know
privileged information they had no right to discover, and
nothing could purge that knowledge from their minds. See
Maness v. Meyers, 419 U.S. 449, 460 (1975) (where witness is
ordered to divulge information protected by the Sth amendment,
"[c]ompliance could cause irreparable injury because appellate
courts cannot always ‘unring the bell' once the information
has been released. Subsequent appellate vindication does not
necessarily have its ordinary consequence of totally repairing
the error."); Wichita Land & Cattle Co. v. American Federal
Bank, 148 F.R.D. 456, 459 (D.D.C. 1992) (finding inadvertent
disclosure a waiver in part because "[t]his information cannot
be expunged from defendants' minds by an order from the this
court denying production“); D.C. Bar Ethics Op. No. 256 (June
1995) ("Once confidential material has been examined even if
briefly, the information cannot be purged from the mind of the
attorney who inadvertently received it.") (quoting Ohio Ethics

opinion).

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3. The OIC’s need to question Mr. Breuer appears
to be less pressing following the agreement of the President
to provide testimony to the grand jury. Prior to that
voluntary agreement, there was a substantial constitutional
issue whether the President could be compelled to give
testimony, and accordingly the OIC’s interest in collateral
witnesses such as Mr. Breuer was understandably greater. But
now that the President is available to testify, there appears
to be little need to require testimony from one of his
attorneys. In other words, prior to the President's agreement
to give testimony, this was an exceptional case in that the
client was arguably unavailable as a witness and the lawyer
might be the only available source of evidence about the
client. But now that the client is available, this case is a
conventional one (at least in this limited respect) where
attorneys are not ordinarily questioned about their work for
their clients.

4. We recognize that in Rubin v. United States,
No. A-53, 1998 WL 396648 (U.S., July 17, 1998), the Chief
Justice denied an application to stay subpoenas to Secret
Service agents, pending the filing and disposition of a
petition for certiorari from the judgment in In re Sealed
Case, No. 98-3069, 1998 WL 370584 (D.C. Cir. July 7, 1998)
(holding that there is no protective-function privilege). The
Chief Justice reached that result because he concluded that,

assuming certiorari was granted, there was no likelihood that

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the Supreme Court would reverse the judgment of the Court of
Appeals. The decision in Rubin does not, however, mean that
the Court of Appeals (or the Supreme Court) will deny the
motion for a stay of subpoenas to the Office of the Counsel to
the President.

The issues raised by Lindsey are very different from
the issues raised by the Secret Service decision. In that
matter, the Secretary of the Treasury advanced a novel
privilege that was unanimously rejected by the Court of
Appeals, and no member of the Court voted for rehearing §§
bagg. Lindsey, by contrast, involves the application, in the
unique context of the Office of the Counsel to the President,
of "one of the oldest recognized privileges in the law."
Swidler & Berlin v. United States, 118 S. Ct. 2081 (1998).
Moreover, as demonstrated by Judge Tatel's dissent and as
further explained in ~ Lindsey is a difficult case
that realistically could be resolved differently by the
Supreme Court. In this regard, Lindsey is more like Swidler &
Berlin, where the Supreme Court rejected the position of the
OIC, reversed the judgment of the Court of Appeals (from which
Judge Tatel also dissented) and held that the attorney-client
privilege survives the death of the client. In short, the
Supreme Court is much more likely to review questions
involving application of the long-recognized attorney-client

privilege than an unprecedented assertion of a new privilege.

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Accordingly, the denial of the stay of subpoenas in the Secret
Service case is not persuasive precedent for the instant case.
CONCLUSION

For the reasons stated above, the instant motion
should be granted, and the subpoena to Mr. Breuer should be
stayed pending disposition of the motion filed by the Office
of the President seeking a stay of subpoenas to members of the
Office of Counsel to the President.

Respectfully submitted,

““"“`“'“ ”M
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